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                                  IN THE UNITED STATED DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                          BROWNSVILLE DIVISION

 SAN JUANA ELIZABETH ESTRADA                       §
 INDIVIDUALLY AS NEXT FRIEND                       §
 OF M.E.E., minor                                  §
 Plaintiff,                                        §
                                                   §
 V.                                                §       CIVIL ACTION NO. B-19-12
                                                   §
 FIRST CLASS TRANSPORT, INC.                       §
 Defendant.                                        §

                              PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES PLAINTIFF, SAN JUANA ELIZABETH ESTRADA INDIVIDUALLY

AS NEXT FRIEND OF M.E.E., complaining of and about FIRST CLASS TRANSPORT, INC.,

hereinafter called Defendant, and for cause of action show unto the Court the following:

                                              1. PARTIES

        1.1     Plaintiff, San Juana Elizabeth Estrada individual as next friend of M.E.E. reside in

Brownsville, Cameron County, Texas.

        1.2     Defendant, FIRST CLASS TRANSPORT, INC., is a Foreign Company stationed

in Mississippi and is organized under the laws of the State of Mississippi. Service of process on

the Defendant may be effected pursuant to article 2.11(A) of the Texas Business Organizations

Code, by serving the registered agent, Xpress Financials, at 20922 Wildflower Road, Gulfport,

Mississippi 39540, its registered office. Service of said Defendant as described above can be

effected by certified mail.




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                                   2. JURISDICTION AND VENUE

        2.1     This court has jurisdiction over the lawsuit under 28 U.S.C. § 1332 (a)(1) because

the Plaintiff and Defendant are citizens of different states and the amount in controversy exceeds

75,000.00, excluding interest and costs.

        2.2     Venue is proper in this matter pursuant to the terms of Title 28 U.S.C. §1391(b) in

that the cause of action arose within the Southern District of Texas.

        2.3     Venue is proper in this district under 28 U.S.C. §1402(b) because the acts and

omissions complained of occurred in this district.

                                    3. FACTUAL BACKGROUND
                                           The Collision

        3.1     This lawsuit concerns a severe motor vehicle collision which occurred on

September 17, 2017. The collision occurred between a 2001 Mercury Sable and a 2016 Kenworth

Tractor Trailer which was driven by, Charles Warren Madere III under the authority and control

of Defendant, FIRST CLASS TRANSPORT, INC. At the time of the collision, minor, M.E.E.

was a passenger in the 2001 Mercury Sable vehicle.

        3.2     The vehicular collision occurred on a Sunday evening at the intersection of S.

Indiana Avenue, and Utah Road, within the limits of Brownsville, Texas. With respect to the area

where the collision occurred, S. Indiana Avenue and Utah Road both consist of two-way streets.

The intersection is controlled by a stop sign and yellow caution lights.

        3.3     Mrs. San Juana Elizabeth Estrada was at a stop sign facing east on Utah Road,

attempting to turn right onto S. Indiana Avenue, at the time of the collision. At the same time, Mr.




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Charles Warren Madere III was on S. Indiana Avenue, facing south. The incident ensued when

Mr. Madere III was backing up and didn’t see Plaintiff’s vehicle, thereby causing this collision.

                                              THE INJURIES

        3.4     San Juana Elizabeth Estrada suffered physical and emotional injuries as a result of

this collision. Including, but not limited to cervical and lumbar sprains/strains. Multiple disc bulges

and herniations to her lower back and neck. Mrs. Estrada has undergone extensive physical

therapy, daily medication, and injections to control the pain caused by the injuries sustained in this

vehicular collision. Due to the temporary results obtained through pain management and the

results from the discogram, she underwent a lumbar laminectomy, to alleviate the pain to her lower

back and neck. In all probability Mrs. Estrada, will continue to incur medical expenses in the future

to allay her pain. Mrs. Estrada was healthy prior to this collision.

        3.5     Minor, M.E.E. suffered physical and emotional injuries as a result of this collision.

Including, but not limited to cervical and lumbar sprains/strains. Multiple disc bulges to her neck

and lower back. Minor, M.E.E. has undergone extensive physical therapy and daily medication,

to control the pain caused by the injuries sustained in this vehicular collision. In all probability

Minor, M.E.E. will continue to incur medical expenses in the future to allay her pain. Minor,

M.E.E. was healthy prior to this collision.

                 THE EMPLOYMENT RELATIONSHIP BETWEEN THE DEFENDANT AND
                           THE RESULTING VICARIOUS LIABILITY

        3.6     At the time of the collision which is the subject of this cause of action, and at all

other relevant times, Charles Warren Madere III was an employee of FIRST CLASS

TRANSPORT, INC., who was acting within the course and scope of his employment. In this




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regard, Charles Warren Madere III was an employee insofar as the master-servant relationship

under common law is concerned.

        3.7     Alternatively, and at all relevant times herein, Charles Warren Madere III was a

“statutory employee” under the statutory employee doctrine. In this regard, an intrastate motor

carrier (such as FIRST CLASS TRANSPORT, INC.) is required to assume full direction and

control of the vehicles that it leases, and the drivers that it hires or dispatches. As a result,

Defendant, FIRST CLASS TRANSPORT, INC., had exclusive control of the truck which Charles

Warren Madere III was operating, and such carrier is deemed to have assumed complete

responsibility for the operation of the vehicle at all relevant times. As a result, FIRST CLASS

TRANSPORT, INC., is vicariously liable in this cause of action as a matter of law for any and all

negligence of Charles Warren Madere III.

        3.8     Alternatively, FIRST CLASS TRANSPORT, INC., is vicariously liable with

respect to all negligence of Charles Warren Madere III under the traditional common-law doctrines

of the master-servant relationship and respondeat superior.

                         4. CAUSE OF ACTION AGAINST DEFENDANT
           NEGLIGENCE OF CHARLES WARREN MADERE III & RESPONDEAT SUPERVISOR

        4.1     Defendant, FIRST CLASS TRANSPORT, INC., is the responsible party defendant

for the actions of its employee, Charles Warren Madere III acting within the course and scope of

his employment.

        4.2.    Under the doctrine of respondeat superior, Defendant, FIRST CLASS

TRANSPORT, INC., is vicariously liable for the actions of its employee, Charles Warren Madere




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III while in the course and scope of his employment. The occurrence made the basis of this suit,

referred to above, and the resulting injuries and damages were proximately caused by the negligent

acts and/or omissions of Defendant, FIRST CLASS TRANSPORT, INC.’s employee in one or

more of the following particulars:

                4.2.1             In that Charles Warren Madere III failed to keep a proper lookout
                                  for Plaintiff’s safety that would have been maintained by a person
                                  of ordinary prudence under the same or similar circumstances;

                4.2.2             In placing Plaintiff in a position of peril due to Charles Warren
                                  Madere III’s lack of due care and exercise of ordinary prudence of
                                  a person of his maturity and capacity in violation of §545.401 of the
                                  Texas Transportation Code;

                4.2.3             In that Charles Warren Madere III failed to back his vehicle safely
                                  and without the interference with Plaintiff’s vehicle in violation of
                                  §545.415 of the Texas Transportation Code;

                4.2.4             In that Charles Warren Madere III failed to maintain a clear and
                                  reasonable distance between Plaintiff’s motor vehicle and Charles
                                  Warren Madere III’s motor vehicle which would permit Charles
                                  Warren Madere III, to safely change lanes without colliding into
                                  Plaintiff’s motor vehicle;

                4.2.5             In that Charles Warren Madere III was operating his motor vehicle
                                  at a rate of speed which was greater than that would have been
                                  operated by a person of ordinary prudence under the same or similar
                                  circumstances;

                4.2.6             In that Charles Warren Madere III failed to keep a proper lookout in
                                  order to avoid colliding with other vehicles, specifically, with
                                  Plaintiff’s motor vehicle, as done by a person of ordinary prudence
                                  under the same or similar circumstances;

                4.2.7             In that Charles Warren Madere III failed to control his speed as
                                  would have been done by an ordinary prudent person of the same
                                  age, experience, intelligence and capacity, in the exercise of




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                                  ordinary care, acting in the same or similar circumstances in
                                  violation of §545.351 of the Texas Transportation Code;

                4.2.8             In that Charles Warren Madere III failed to apply his brakes to his
                                  motor vehicle in a timely and prudent manner;

                4.2.9             In failing to exercise reasonable care to protect the safety of others
                                  who are using the roadways;

                4.2.10            In failing to take evasive action to avoid colliding with Plaintiff’s
                                  vehicle;

                4.2.11            In failing to use the vehicle’s horn, lights, and/or other equipment to
                                  warn Plaintiff of the impending collision; and/or

                4.2.12            In that Charles Warren Madere III was negligent by failing to
                                  operate a vehicle of this type in a reasonably prudent or responsible
                                  manner.

        4.3     Plaintiff’s injuries were proximately caused by Charles Warren Madere III

negligent, careless and reckless disregard of said duty.

                            5. CAUSE OF ACTION AGAINST DEFENDANT
                         NEGLIGENCE OF FIRST CLASS TRANSPORT, INC.

        5.1     On September 17, 2017, Defendant, FIRST CLASS TRANSPORT, INC., was the

owner of the vehicle driven by Charles Warren Madere III. Defendant, FIRST CLASS

TRANSPORT, INC., negligently entrusted the vehicle to Charles Warren Madere III, a reckless

and incompetent driver. Defendant knew, or through the exercise of reasonable care should have

known, that Charles Warren Madere III was a reckless and incompetent driver.

        5.2     Furthermore, and alternatively, FIRST CLASS TRANSPORT, INC., owed

Plaintiff a duty to hire, supervise, train and retain competent employees. Defendant breached that




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duty by negligently training, supervising, hiring and retaining, Charles Warren Madere III

consisting of, but not limited to the following:

                5.2.1    In failing to exercise ordinary care in implementing adequate training
                         procedures for drivers;

                5.2.2    In failing to exercise ordinary care in implementing adequate continued
                         education for all drivers;

                5.2.3    In failing to exercise ordinary care in implementing adequate supervision
                         procedures;

                5.2.4    In failing to adequately screen Charles Warren Madere III driving record
                         prior to hiring him; and/or

                5.2.5    In failing to exercise ordinary care in determining whether Charles Warren
                         Madere III was competent enough to be hired.

        5.3     Each of the aforementioned negligent acts or omissions of the Defendant, FIRST

CLASS TRANSPORT, INC. constituted a proximate cause of the collision resulting in damages

and injuries to the Plaintiff.

                          6. DAMAGES FOR SAN JUANA ELIZABETH ESTRADA

        6.1     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, San Juana Elizabeth Estrada was caused to suffer bodily injuries, and to incur the

following damages:

                6.1.1    Reasonable medical care and expenses in the past. These expenses were
                         incurred by Plaintiff, San Juana Elizabeth Estrada for the necessary care and
                         treatment of the injuries resulting from the accident complained of herein
                         and such charges are reasonable and were usual and customary charges for
                         such services in Texas;

                6.1.2    Reasonable and necessary medical care and expenses which will in all
                         reasonable probability be incurred in the future;




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                6.1.3    Physical pain and suffering in the past and in the future;

                6.1.4    Physical impairment in the past and which, in all reasonable probability,
                         will be suffered in the future;

                6.1.5    Loss of earning capacity in the past and which will, in all probability, be
                         incurred in the future; and

                6.1.6    Mental anguish in the past and in the future.

                                   7. DAMAGES FOR MINOR, M.E.E.

        7.1     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Minor, M.E.E., was caused to suffer bodily injuries, and to incur the following damages:

                7.1.1    Reasonable medical care and expenses in the past. These expenses were
                         incurred by Minor, M.E.E., for the necessary care and treatment of the
                         injuries resulting from the accident complained of herein and such charges
                         are reasonable and were usual and customary charges for such services in
                         Texas;
                7.1.2    Reasonable and necessary medical care and expenses which will in all
                         reasonable probability be incurred in the future;

                7.1.3    Physical pain and suffering in the past and in the future;

                7.1.4    Physical impairment in the past and which, in all reasonable probability,
                         will be suffered in the future; and

                7.1.5    Mental anguish in the past and in the future.

                                  8. PRE/POST JUDGMENT INTEREST

        8.1     To the extent provided by law, Plaintiff further plead for pre and post judgment

interest, at the highest prevailing judgment rate allowed by law, on any damages awarded by this

Court. Plaintiff and minor plead that if they are not allowed such pre and post judgment interest,

that they would not be fully compensated, and that they would be denied an opportunity to earn




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interest on the damages Plaintiff sustained between the time of the incident and the time of

judgment.

                                                  PRAYER
        WHEREFORE, PREMISES CONSIDERED, Plaintiff, San Juana Elizabeth Estrada

individually as next friend of M.E.E., respectfully prays that the Defendant be cited to appear and

answer herein, and that upon a final hearing of the cause, judgment be entered for the Plaintiffs

against Defendant, jointly and severally, for damages in an amount within the jurisdictional limits

of the Court; together with pre-judgment interest at the maximum rate allowed by law; post-

judgment interest at the legal rate, costs of court; and such other and further relief to which the

Plaintiffs may be entitled at law or in equity.


                                                        Respectfully submitted,

                                                  By:   /s/ Daniel Torres

                                                        Daniel A. Torres
                                                        State Bar No. 24046985
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